 Case 1:17-cv-00335-GJQ-RSK ECF No. 10 filed 07/26/17 PageID.43 Page 1 of 1

                          UNITED STATES OF DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN


                            CHAMBERS MINUTES

Case No.:    1:17-CV-335
Case Caption: Karen Saunders v. Dyck O’Neal, Inc.
Date: July 26, 2017 - 1:30 - 2:10 PM - VIA TELEPHONE
Place: Grand Rapids
Judge: Hon. Gordon J. Quist



Appearance for Plaintiff:   Alex Burke; David Michael Marco

Appearances for Defendant: Charity A. Olson




                                        PROCEEDINGS


NATURE OF HEARING:

Telephone Rule 16 Scheduling Conference. Order to issue.




Clerk: J. Tepper
